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       IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH
                                       CENTRAL DIVISION



 SUSAN I. MOSS and JAMAL S. YANAKI,

                         Plaintiffs,                                     ORDER
                                                                          AND
                 vs.                                         MEMORANDUM DECISION


 HEINZ KOPP, KENDRA HERLIN, AARON                              Case No. 2:06-CV-317-TC
 D. KENNARD, SOLELY IN HIS
 CAPACITY AS SHERIFF OF SALT LAKE
 COUNTY, and SALT LAKE COUNTY,
                         Defendants.



       These alleged violations of civil rights arising under 42 U.S.C. § 1983 come before the

court on separate Motions to Dismiss by Defendants Salt Lake County, Aaron Kennard, Heinz

Kopp, and Kendra Herlin (collectively “Defendants”). The motions have three bases. First,

Defendants have asserted that this action is barred by collateral estoppel. Because Plaintiffs

Susan Moss and Jamal Yanaki brought a similar action against parties not named in this lawsuit,

Defendants argue that the relevant issues have already been litigated. Second, Defendants

contend that quasi-judicial immunity protects them from liability because they acted pursuant to

a facially valid court order. Third, Defendants argue that even if quasi-judicial immunity does

not apply, qualified immunity shields them from liability.

       For the reasons described below, the court grants Defendants’ Motions to Dismiss.

Specifically, the court holds that: (1) collateral estoppel does not bar this litigation because the
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issues presented here differ from the previous proceeding; (2) quasi-judicial immunity does apply

and bars this action; and accordingly, (3) the court need not address qualified immunity.

                                         BACKGROUND1

       In an unrelated civil action, Iomed, Inc. (“Iomed”) sued Jamal Yanaki and others in Utah

State Court several years ago. To facilitate that proceeding, upon an ex parte motion by Iomed,

the Honorable Tyrone E. Medley issued an “Order to Conduct Immediate Discovery to Prevent

the Destruction or Alteration of Evidence” (“Discovery Order”).2 The Discovery Order directed

Yanaki not to alter certain documents and media, and ordered local law enforcement to take

specific items from Yanaki’s residence that were in his custody, control, or possession.

(Discovery Order at ¶¶ 2, 3.) Specifically, Judge Medley ordered the “Salt Lake County Sheriff’s

Office, or other appropriate law enforcement agency as specified by the Court” to take

computers, ZIP drives, CD ROMS, a Palm Pilot, as well as files relating to Ceramatec and

Aequitas. (Id. ¶ 3.)

       Salt Lake County Sheriff’s Deputy Heinz Kopp, along with a private attorney,3 went to

Yanaki’s residence to execute the Discovery Order on April 15, 2002, at 8:00 a.m. (Am. Compl.

¶ 10.) Because Yanaki was out of town, Kopp served the Discovery Order on Yanaki’s wife,

Susan Moss, but she refused to allow Kopp to enter the residence. (Id. ¶ 11-12, 17.) After the


       1
       Facts are taken from the allegations in Plaintiffs’ Complaint, all of which the court
assumes as true at this stage.
       2
         Although none of the parties submitted a copy of the order to the court as an exhibit, a
courtesy copy was provided during oral arguments on January 16, 2007. Judge Medley issued
this order, dated April 12, 2002, for Case No. 020903031, in the Third Judicial District for the
State of Utah.
       3
           The complaint never refers to the “private attorney” by name.

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private attorney informed Moss that “[w]e can come in now, or we can come in later” and Kopp

told Moss that “[w]e can kick in this door,” the attorney left to obtain another civil order while

Kopp waited outside Yanaki’s home. (Id. ¶¶ 18, 19.) The attorney returned with a

“Supplemental Order in Aid of Enforcement” (“Supplemental Order”),4 signed by Judge Medley.

(Id. ¶ 20.)    The Supplemental Order authorized:

              [T]he Salt Lake County Sheriff’s Office . . . to enter the residence and home
              address of Defendant Jamal Yanaki 385 North Wall Street, Salt Lake City,
              Utah 84103 and use reasonable force, if necessary and appropriate under the
              circumstances, to execute the Order, including entering through unlocked
              doors, conducting a search of the premises, and detaining any person who
              resists the enforcement of the Order.

(Supp. Order at 1-2.)

        After seeing the Supplemental Order, and after Kopp informed her she could be detained

if she interfered, Moss permitted Kopp to execute the Discovery Order. (Am. Compl. ¶ 22.)

Kendra Herlin, a Sergeant in the Sheriff’s Office, later arrived at Yanaki’s residence and

reinforced that Moss could be detained if she impeded the orders. (Id. ¶ 23.) Kopp then “took

the property of Yanaki, Moss, and others.” (Id. ¶ 24.)

        Because of this alleged search and seizure, Moss and Yanaki filed a complaint in the

United States District Court for the District of Utah on April 14, 2003 (“Yanaki I”), against

Iomed, Robert J. Lollini, Mary Crowther, Laura Millar, the law firm of Parr Waddoups Brown

Gee & Loveless, Clark Waddoups, Jonathan O. Hafen, Justin P. Matkin, Office Equipment




        4
        Similarly to the Discovery Order, a courtesy copy of the Supplemental Order was only
provided during the January 16, 2007 hearing. Judge Medley also issued this order, dated April
15, 2002, for Case No. 020903031, in the Third Judicial District for the State of Utah.

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Associates, Scott L. Johnson, and John Does I through XX (collectively, “Yanaki I defendants”).5

Among other claims, Yanaki and Moss alleged that the Yanaki I Defendants violated their civil

rights when they sought and executed Judge Medley’s orders. Notably, the Yanaki I defendants

were all private parties allegedly involved in the search of Yanaki’s home. In this case, however,

all Defendants are state officials.

         The Honorable Dee Benson granted the Yanaki I defendants’ Motion to Dismiss with

prejudice under Federal Rule of Civil Procedure 12(b)(6). Yanaki v. Iomed, Inc., No. 2:03-cv-

345 & 346, slip op. at 10 (D. Utah Mar. 11, 2004). Specifically, Judge Benson ruled that Moss

and Yanaki “failed to plead the element of state action requisite to sustain an action under §

1983.” Id. at 9. On appeal, the Tenth Circuit affirmed Judge Benson’s ruling, “[b]ecause there is

no set of facts under which Plaintiffs can establish that the alleged deprivation of rights was

committed under color of state law . . . .” Yanaki v. Iomed, Inc., 415 F.3d 1204, 1210 (10th Cir.

2005).

         Subsequently, Moss and Yanaki initiated this action, suing only state officials allegedly

involved in the search of Yanaki’s home.

                                              ANALYSIS

I.       Legal Standard for 12(b)(6) Motion to Dismiss

         The court will grant a motion to dismiss under Federal Rule of Civil Procedure 12(b)(6) if

the complaint fails to state a claim upon which relief can be granted, assuming all well-pleaded

factual allegations are true. Sutton v. Utah State Sch. for Deaf & Blind, 173 F.3d 1226, 1236


         5
             Initially Moss and Yanaki filed separate complaints which were consolidated into Yanaki
I.

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(10th Cir. 1999) (“[A]ll well-pleaded factual allegations in the amended complaint are accepted

as true and viewed in the light most favorable to the nonmoving party” when a court rules on a

12(b)(6) motion to dismiss.). “The court’s function on a Rule 12(b)(6) motion is not to weigh

potential evidence that the parties might present at trial, but to assess whether the plaintiff's

complaint alone is legally sufficient to state a claim for which relief may be granted.” Miller v.

Glanz, 948 F.2d 1562, 1565 (10th Cir. 1991). Further, a court should consider only the well-

pleaded allegations, and not allow conclusory assertions to satisfy the plaintiff’s burden. Elliott

Indus. Ltd. P’ship v. BP Am. Prod. Co., 407 F.3d 1091, 1107 (10th Cir. 2005) (“A motion to

dismiss for failure to state a claim ‘admits all well-pleaded facts in the complaint as distinguished

from conclusory allegations.’”) (quoting Mitchell v. King, 537 F.2d 385, 386 (10th Cir. 1976)).

Therefore, Defendants’ Motions to Dismiss are proper only if Plaintiffs have failed to plead the

facts necessary to support a legal claim.

II.    Defendants’ Motions to Dismiss

       Defendants’ Motions to Dismiss have three bases: (A) this suit is barred by collateral

estoppel; (B) the state officials involved in the alleged search and seizure are protected by quasi-

judicial immunity; and alternatively, (C) the conduct is protected by qualified immunity. The

court will address these in turn.

       A.      Collateral Estoppel Does Not Bar This Lawsuit

       Because Moss and Yanaki are suing different Defendants, and because they present a

different legal issue from that decided in Yanaki I, this claim is not barred by collateral estoppel.6


       6
         Although Defendants initially asserted res judicata, it appears they now only assert
collateral estoppel. At any rate, res judicata does not apply to these new Defendants because the

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Specifically, Yanaki I found only that the private parties involved in the search of Yanaki’s home

did not qualify as state actors. Such a ruling does not, however, resolve whether the state

officials allegedly involved in the search acted under color of state law when they executed the

Discovery Order and Supplemental Order for the civil matter.

       As the Tenth Circuit has explained, collateral estoppel has four elements:

           (1) [T]he issue previously decided is identical with the one presented in the
           action in question, (2) the prior action has been finally adjudicated on the
           merits, (3) the party against whom the doctrine is invoked was a party or in
           privity with a party to the prior adjudication, and (4) the party against whom
           the doctrine is raised had a full and fair opportunity to litigate the issue in
           the prior action.

Frandsen v. Westinghouse Corp., 46 F.3d 975, 978 (10th Cir. 1995).

       Elements two and three are clearly satisfied by Yanaki I. That case was finally

adjudicated on the merits both by the District Court and the Tenth Circuit. See Yanaki, 415 F.3d

1204; Yanaki, No. 2:03-cv-345 & 346, slip op (D. Utah Mar. 11, 2004). Also, Moss and Yanaki

had a full and fair opportunity to litigate that case, as it was ultimately determined by the circuit

court. See Yanaki, 415 F.3d at 1210.

       But the first element defeats Defendants’ collateral estoppel defense because Yanaki I did

not determine whether the state officials allegedly involved acted under color of state law.7


doctrine requires the previous litigation involve the identical parties or parties in privity with the
previous litigants. Nwosun v. Gen. Mills Rest., Inc., 124 F.3d 1255, 1257 (10th Cir. 1997) (“Res
judicata requires the satisfaction of four elements: (1) the prior suit must have ended with a
judgment on the merits; (2) the parties must be identical or in privity; (3) the suit must be based
on the same cause of action; and (4) the plaintiff must have had a full and fair opportunity to
litigate the claim in the prior suit.”). Res judicata fails on the second element because
Defendants do not assert that they are in privity with the Yanaki I defendants.
       7
         Because this first element is not satisfied, the fourth element – that this issue was fully
litigated – cannot be satisfied, even though Defendants have invoked collateral estoppel against

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Rather, Yanaki I decided only that the Yanaki I defendants, all private parties, did not act under

color of state law. In upholding Yanaki I on appeal, the Tenth Circuit concluded that “[b]ecause

Plaintiffs allege nothing more than ‘private misuse’ of state laws, their complaint fails to satisfy

the first part of the color of law test as announced in Lugar.” Id. at 1209 (emphasis added).

Distinguishing the actions of the police from the actions of the private parties, the circuit court

explained:

             Plaintiffs allege only that Defendants’ search of the residence was
             conducted in concert with the police who were acting pursuant to the orders
             of the state court, which Plaintiffs admit were unlawful under state law. The
             involvement of the police in executing the court-ordered search,
             without more, does not convert Defendants’ abuse of state law into
             conduct attributable to the state for purposes of § 1983 liability.

Id. at 1209-10 (emphasis added).

       Ultimately, the district and circuit courts in Yanaki I considered only whether the

involvement of the police converted the Yanaki I defendants into state actors. Neither court

determined whether the state officials themselves qualified as state actors when they executed the

orders. The issue of whether the police allegedly involved in the search of Yanaki’s home

qualify as state actors has not been litigated, and collateral estoppel does not bar Plaintiffs’ claim

against these Defendants.

       B.        Defendants Qualify for Quasi-Judicial Immunity

       Defendants qualify for quasi-judicial immunity because they did not exceed their

authority and acted pursuant to a facially valid court order. When properly invoked, quasi-

judicial immunity serves as an absolute bar to recovery. Guttman v. Khalsa, 446 F.3d 1027,



the parties whose claims were dismissed in Yanaki I.

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1033 (10th Cir. 2006) (“Absolute immunity bars suits for money damages for acts made in the

exercise of prosecutorial or judicial discretion.”). As the Tenth Circuit has explained, “an

official charged with the duty of executing a facially valid court order enjoys absolute immunity

from liability for damages in a suit challenging conduct prescribed by that order.” Valdez v. City

& County of Denver, 878 F.2d 1285, 1286 (10th Cir. 1989).

       Quasi-judicial immunity springs from the protections which preclude civil liability for

judges performing their official duties. Whitesel v. Sengenberger, 222 F.3d 861, 867 (10th Cir.

2000) (“[A]bsolute judicial immunity has been extended to non-judicial officers where ‘their

duties had an integral relationship with the judicial process.’”) (quoting Eades v. Sterlinske, 810

F.2d 723, 726 (7th Cir.1987)). While cloaking judges from liability, courts have recognized that

judicial immunity must also extend to individuals charged with carrying out judicial orders.

Valdez, 878 F.2d at 1288 (“Absolute immunity for officials assigned to carry out a judge’s orders

is necessary to insure that such officials can perform their function without the need to secure

permanent legal counsel. A lesser degree of immunity could impair the judicial process.”).

Because “it is simply unfair to spare the judges who give orders while punishing the officers who

obey them,” courts recognize that “[o]fficials must not be called upon to answer for the legality

of decisions which they are powerless to control.” Id. at 1289. Otherwise, a narrow application

of judicial immunity would “allow plaintiffs to bring suit any time a state agent executes a

judicial order which does not fulfill every legal requirement [and] would make the agent ‘a

lightning rod for harassing litigation aimed at judicial orders.’” Turney v. O’Toole, 898 F.2d

1470, 1473 (10th Cir. 1990) (quoting Valdez, 878 F.2d at 1289).

       The Tenth Circuit has articulated a four-part test for quasi-judicial immunity. First, the

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judge must have authority to issue the underlying order, such that the judge would qualify for

judicial immunity. Id. at 1474 (“[A] state official is not absolutely immune from damages arising

from the execution of an order issued by a judge acting ‘in the clear absence of all jurisdiction.’”)

(quoting Stump v. Sparkman, 435 U.S. 349, 357 (1978)). Second, the order must be facially

valid. Valdez, 878 F.2d at 1286 (“[A]n official charged with the duty of executing a facially

valid court order enjoys absolute immunity from liability for damages in a suit challenging

conduct prescribed by that order.”). Third, the officer must have authority to carry out the action.

Turney, 898 F.2d at 1474 (“[Q]uasi-judicial immunity will not attach to state officials acting

‘outside the scope of their jurisdiction.’”) (quoting Cok v. Cosentino, 876 F.2d 1, 3 (1st Cir.

1989)). And fourth, the officer must not exceed the order. Id. (“[T]his absolute immunity

extended only to acts prescribed by [the] order.”). Because all four steps are satisfied here,

Defendants qualify for quasi-judicial immunity and their Motions to Dismiss are granted.

       1.      Judge Medley Acted Pursuant to Statutory Authority

       First, Judge Medley would qualify for judicial immunity for issuing the Discovery Order

and the Supplemental Order because he had the requisite statutory authority. Although judges

are not immune for judicial acts “‘committed in the clear absence of all jurisdiction,’” Whitesel,

222 F.3d at 867 (quoting Henriksen v. Bentley, 644 F.2d 852, 855 (10th Cir. 1981)), “[a] judge

does not act in the clear absence of all jurisdiction even if ‘the action he took was in error, was

done maliciously, or was in excess of his authority.’” Id. (quoting Stump, 435 U.S. at 356-57).

Judicial immunity protects a judge “‘even if his exercise of authority is flawed by the

commission of grave procedural errors.’” Id. (quoting Stump, 435 U.S. at 359).

       Accordingly, Judge Medley would qualify for judicial immunity because he issued the

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Discovery Order and Supplemental Order pursuant to express statutory authority. The Utah

Code empowers every court to “preserve and enforce order in its immediate presence” and to

“compel obedience to its judgments, orders, and process.” Utah Code Ann. § 78-7-5. Judge

Medley issued the Discovery Order to prevent the destruction of evidence in litigation before

him, and he issued the Supplemental Order to effect the Discovery Order. Because both orders

clearly fall under his statutory authority, he would qualify for judicial immunity. Consequently,

Defendants satisfy the first step of the quasi-judicial immunity analysis.

       2.      The Discovery Order and the Supplemental Order Were Both Facially Valid

       Second, both the Discovery Order and the Supplemental Order were facially valid. The

Tenth Circuit has limited the facial validity requirement, explaining that an order can be facially

valid even if it is erroneous or unlawful. Turney, 898 F.2d at 1473 (“Even assuming that the

order was infirm as a matter of state law, it was facially valid. ‘Facially valid’ does not mean

‘lawful.’ An erroneous order can be valid.”) (footnote omitted); Zamora v. City of Belen, 383 F.

Supp. 2d 1315, 1326 (D.N.M. 2005) (“And it is irrelevant to the executing officer’s absolute

immunity from suit under § 1983 if the court order violates a statute, or is erroneous or even

unconstitutional, as long as it is ‘facially valid.’”) (citing Turney, 898 F.2d at 1473).

       Plaintiffs contend that the orders were facially invalid because the “Discover [sic] Order

was not on its face, either under state or federal law, a valid search warrant.” (Am. Compl. ¶ 14.)

Although Plaintiffs correctly note that the Discovery Order and Supplemental Order were not

search warrants, they do not dispute that the orders manifestly satisfied the threshold requirement

of judicial approval. Bernstein v. Roberts, 405 F. Supp. 2d 34, 40 (D.D.C. 2005) (“[C]ourts have

never made a distinction in their Fourth Amendment analyses between criminal cases (i.e.,

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warrants) and civil cases (i.e., writs). Regardless of a government officer’s purpose, under the

Constitution, he or she must obtain judicial approval before entering a private home to conduct a

search or seizure.”). Instead, Plaintiffs urge the court to rule that every court-issued civil order is

facially invalid, exposing to civil liability all officers charged with executing a civil order.8 But

judicial approval is not facially invalid simply because it comes in the form of a civil order. See

Turney, 898 F.2d at 1472 (“This quasi-judicial immunity applies with full force to a judicial

order that a person can be detained for mental evaluation.”) (emphasis added); Valdez, 878 F.2d

at 1288 (“Absolute immunity for officials assigned to carry out a judge’s orders is necessary to

insure that such officials can perform their function without the need to secure permanent legal

counsel.”) (emphasis added). The court rejects Plaintiffs’ argument that the orders are facially

invalid simply because they are not search warrants. Accordingly, Defendants satisfy the second

step of the quasi-judicial immunity analysis because both the Discovery Order and the

Supplemental Order are facially valid.

       3.      Defendants Acted Pursuant to Their Authority

       Third, Defendants Kopp and Herlin had the authority to carry out the orders, and may

have faced contempt charges for failing to do so. See Utah Code Ann. § 78-32-1 (“The


       8
         Plaintiffs rely heavily on Specht v. Jensen, 832 F.2d 1516 (10th Cir. 1987), to establish
that Defendants violated the Fourth Amendment when they entered Plaintiffs’ home with the
Discovery Order and the Supplement Order as opposed to a search warrant. But the defendants
in Specht did not assert quasi-judicial immunity in their appeal from a jury verdict. Rather, it
appears the Specht defendants preempted their potential claim of quasi-judicial immunity by
misrepresenting and exceeding the scope of the writ at issue. See id. at 1520 (“[Police officer]
stated that he had a search warrant to seize a stolen computer” even though the document was
actually a writ of assistance.). Because Specht did not consider whether quasi-judicial immunity
attaches to a police officer’s carrying out a facially valid civil writ, the case does not guide the
court in this matter.

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following acts or omissions in respect to a court or proceedings therein are contempts of the

authority of the court: . . . Misbehavior in office, or other willful neglect or violation of duty by

an attorney, counsel, clerk, sheriff, or other person appointed or elected to perform a judicial or

ministerial service [or] . . . Disobedience of any lawful judgment, order or process of the court.”).

Plaintiffs do not contend or allege to the contrary, so the court finds that Defendants Kopp and

Herlin acted pursuant to their authority.

       Further, because Kopp and Herlin acted within their authority, Plaintiffs cannot establish

that Defendants Salt Lake County or Kennard are responsible for conduct in excess of authority.

Accordingly, the third step of the analysis is satisfied for all Defendants.

       4.      Defendants Did Not Exceed Judge Medley’s Orders

       Fourth, because the Amended Complaint does not effectively allege that Defendants

exceeded the Discovery Order or the Supplemental Order, the fourth step of the analysis is

satisfied. The court analyzes the actions of each Defendant separately because the Amended

Complaint alleges different conduct for each Defendant.

       Defendant Kopp

       The Amended Complaint fails to allege with particularity that Defendant Kopp exceeded

Judge Medley’s orders. Plaintiffs allege that Moss succumbed to the “illegal threat of having

Kopp ‘detain’ her if she interfered with the illegal search and seizure.” (Am. Compl. ¶ 22.)

Significantly, according to the Amended Complaint, this alleged threat came after the

Supplemental Order had authorized the Salt Lake County Sheriff’s Office to “detain[] any person

who resists enforcement of the [Discovery] Order.” (Supp. Order at 2.) The allegation suggests

only that Kopp adhered to the Supplemental Order, and undoubtedly acted within the scope of

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that order.

        The Amended Complaint also alleges that “Kopp took the property of Yanaki, Moss, and

others without the consent of any of them to, on information and belief, the place of business of

one of the private citizens.” (Am. Compl. ¶ 24.) Even assuming this allegation is true, as the

court must do, the mere fact that Kopp took some property which did not belong to Yanaki does

not adequately establish that Kopp exceeded the Discovery Order. When naming which items

were to be seized from Yanaki, Judge Medley included items in Yanaki’s possession, custody or

control. Specifically, the Discovery Order authorized the Salt Lake County Sheriff’s Office to:

              [T]ake custody of each of the hard drives in one or more computers, of other
              electronic storage media, including specifically but not limited to ZIP drives
              and CD ROMS, and of the electronic day planner (a Palm Pilot) in the
              possession, custody, or control of Defendant Jamal Yanaki . . . at the
              above address or addresses . . . [and] recover any Iomed confidential files in
              Yanaki’s possession, custody or control, including but not limited to files
              relating to Ceramatec and Aequitas . . . .


(Discovery Order ¶¶ 3(a), 3(d)) (emphasis added). Plaintiffs do not allege that any of the

property taken was not within Yanaki’s “possession, custody or control.” On the

contrary, Plaintiffs assert that all items were taken from Yanaki’s residence, suggesting

that all items were in fact in Yanaki’s possession, custody or control.

        Further, Plaintiffs have not alleged that Kopp seized anything beyond the items

enumerated by the Discovery Order.9 Instead, the Amended Complaint relies on the


        9
        The Amended Complaint also alleges that “the things to be seized were not described
with particularity.” (Am. Compl. ¶ 26.) Because the Discovery Order specifically enumerates
and describes the exact items to be taken from a precise address, this argument is without merit.
U.S. v. Brooks, 427 F.3d 1246, 1251 (10th Cir. 2005) (“We have simply held that officers must
describe with particularity the objects of their search.”).

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conclusory allegation that Kopp took property belonging to Moss and to others to

establish that Kopp exceeded the Discovery Order.10 But such ambiguous allegations are

not sufficient to defeat a motion to dismiss. See Elliott Indus. Ltd. P’ship, 407 F.3d at

1107 (“A motion to dismiss for failure to state a claim ‘admits all well-pleaded facts in

the complaint as distinguished from conclusory allegations.’”) (quoting Mitchell, 537

F.2d at 386). Even if Kopp seized items belonging to Moss or others, the Amended

Complaint does not allege that these items fell beyond the purview of the Discovery

Order. Accordingly, Plaintiffs do not effectively allege that Kopp exceeded the orders, so

he satisfies the fourth step of the analysis.

        Defendant Herlin

        The Amended Complaint alleges only that Defendant Herlin adhered to the Supplemental

Order, and thus Plaintiffs fail to allege that she exceeded the scope of Judge Medley’s orders.

Specifically, Plaintiffs allege that after the Supplemental Order had been served, Herlin

“reinforc[ed] Kopp’s illegal threat to ‘detain’ Moss if she attempted to stop the illegal search and

seizure.” (Am. Compl. ¶ 23.) Much like Kopp, the allegation claims that Herlin correctly

informed Plaintiffs what the Supplemental Order authorized. The Amended Complaint does not

make any other allegation about Herlin’s conduct. Plaintiffs have not alleged that Herlin

exceeded the scope of Judge Medley’s orders, so Herlin satisfies the fourth step of the quasi-

judicial immunity analysis.


        10
         It is not clear who constitutes “others” in the Amended Complaint. Notably, the “others”
apparently opted not to sue as Moss and Yanaki are the only Plaintiffs in this action. Because
neither Moss nor Yanaki has asserted standing to sue on the behalf of “others,” this court will
only consider the alleged violations of Moss and Yanaki’s civil rights.

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       Therefore, Defendants Kopp and Herlin have satisfied each of the four steps required to

invoke quasi-judicial immunity, and are both immune from this lawsuit. The court grants the

Combined Motion to Dismiss by Defendants Kopp and Herlin.

       Defendants Salt Lake County and Kennard

       The Amended Complaint alleges no conduct by either Defendant Kennard or Salt Lake

County that differs from Defendants Kopp and Herlin. (See Am. Compl. ¶¶ 15, 20, 29-32, 34,

36-41, 43.) Because Kopp and Herlin have been dismissed from this suit, the claims against

Defendants Salt Lake County and Sheriff Aaron Kennard are necessarily dismissed.

Accordingly, Plaintiffs have not alleged that Kennard or Salt Lake County engaged in conduct

not protected by quasi-judicial immunity.

       Furthermore, the Amended Complaint alleges the conduct of Kopp and Herlin

demonstrates an unlawful underlying policy endorsed by Defendants Kennard and Salt Lake

County. (See id. ¶¶ 6, 45-47). But these allegations rest entirely on the notion that the conduct

of Kopp and Herlin manifests a policy that Defendants Kennard and Salt Lake County

purportedly endorse. Since Kopp and Herlin simply executed Judge Medley’s facially valid

orders, their conduct cannot serve as the basis to prove a policy of unconstitutionality. Therefore,

Defendants Kennard and Salt Lake County’s Motions to Dismiss are also granted.

       C.      The Court Need Not Address Defendants’ Qualified Immunity

       Having dismissed the claims against all Defendants on other grounds, the court need not

consider Defendants’ qualified immunity status.




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                                      ORDER

    For the foregoing reasons, Defendants’ Motions to Dismiss are GRANTED.



    DATED this 16th day of February, 2007.



                                      BY THE COURT:



                                      TENA CAMPBELL
                                      Chief Judge




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